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                         UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF OKLAHOMA

UNITED STATES OF AMERICA,                      )
                                               )
       Plaintiff,                              )
                                               )
v.                                             )         Case No. CR-21-152-CBG
                                               )
GORDON LEE MYERS,                              )
a/k/a Rick Lee Myers,                          )
                                               )
       Defendant.                              )

                                          ORDER

       Now before the Court is the Government’s Motion to Dismiss Indictment (Doc. No.

37), filed September 15, 2021. The Government cites Defendant’s state-court criminal

proceedings and pending incarceration as its basis for dismissal. The Government further

recites that Defendant does not object to its request.

       Having considered the Government’s argument and the circumstances of this

matter, the Court finds that dismissal is in the public interest and that the Motion should be

and is hereby GRANTED. See Fed. R. Crim. P. 48(a); Rinaldi v. United States, 434 U.S.

22, 29 n.15 (1977); United States v. Romero, 360 F.3d 1248, 1251 (10th Cir. 2004).

       IT IS THEREFORE ORDERED that the Indictment (Doc. No. 21) filed May 12,

2021, charging Defendant Gordon Lee Myers, a/k/a Rick Lee Myers, with violation of Title

18, United States Code, Sections 2241(c), 2243, 2246(2)(A), 1151, and 1153, is

DISMISSED WITHOUT PREJUDICE.
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 IT IS SO ORDERED this 3rd day of November, 2021.




                                 2
